          Case 8:19-bk-11550-TA                   Doc 25 Filed 05/31/19 Entered 05/31/19 13:20:33                                     Desc
                                                    Main Document Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Dana M. Douglas (SBN 220053)
 Attorney at Law
 11024 Balboa Blvd., No. 431
                                                                                                        FILED & ENTERED
 Granada Hills, CA 91344
 MAILING ADDRESS:                                                                                               MAY 31 2019
 4712 Admiralty Way #1001
 Marina del Rey, CA 90292
 818-360-8295                                                                                             CLERK U.S. BANKRUPTCY COURT
                                                                                                          Central District of California
 dana@danamdouglaslaw.com                                                                                 BY reid       DEPUTY CLERK




                                                                                               CHANGES MADE BY COURT
     Individual appearing without attorney
     Attorney for Movant

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                     CASE NO.:          8:19-bk-11550-TA
                                                                            CHAPTER:           7

                                                                                      ORDER GRANTING MOTION
                                                                                    FOR ORDER IMPOSING A STAY OR
          ALAIN AZOULAY,                                                           CONTINUING THE AUTOMATIC STAY

                                                                            DATE:                     5/21/2019
                                                                            TIME:                     1:30 pm
                                                                            COURTROOM:                5A
                                                                            PLACE:                    US Bankruptcy Court
                                                                                                      411 W. Fourth St.
                                                                                                      Santa Ana, CA 92701

                                                            Debtor(s).


 Movant (name):
                           ALAIN AZOULAY

1. The Motion was:                   Opposed                     Unopposed                    Settled by stipulation

2. The Motion affects the following property (Property):
          Vehicle (describe year, manufacturer, type and model):
             Vehicle identification number:
             Location of vehicle (if known):
          Equipment (describe manufacturer, type, and characteristics):
              Serial numbers(s):
              Location (if known):


           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                          Page 1                                 F 4001-1.IMPOSE.STAY.ORDER
           Case 8:19-bk-11550-TA                   Doc 25 Filed 05/31/19 Entered 05/31/19 13:20:33                                     Desc
                                                     Main Document Page 2 of 3


           Real property:
             Street Address:         327 Salta Verde Point
             Unit Number:
             City, State, Zip Code: Long Beach, CA 90803
           Legal description or document recording number (including county of recording):


               See attached page.

3. The Motion is granted on the grounds that:
      a.       The present case was filed in good faith.
      b.       The Property is of consequential value or benefit to the estate.
      c.       The presumption of bad faith under 11 U.S.C. § 362(c)(3)(C)(i) or (c)(4)(D)(i) has been overcome as to all
               creditors.
      d.       The presumption of bad faith as to the Secured Creditor/Lessor under 11 U.S.C. § 362(c)(3)(C)(ii) or
               (c)(4)(D)(ii) has been overcome.

4. The stay of 11 U.S.C. § 362(a) is
      a.       Imposed as to all creditors until further order of the court.
      b.       Imposed as to the Secured Creditor/Lessor with respect to actions to collect the debt owed to the Secured
               Creditor/Lessor until further order of the court.
      c.       Imposed as to the Secured Creditor/Lessor with respect to the Property until further order of the court.
      d.       Continued as to all creditors until further order of the court.
      e.       Continued in effect as to the Secured Creditor/Lessor with respect to actions to collect the debt owed to the
               Secured Creditor/Lessor until further order of the court.
      f.       Continued in effect as to the Secured Creditor/Lessor with respect to the Property until further order of the
               court.
5.         The stay shall be imposed or continued in effect subject to the terms and conditions set forth in the Adequate
           Protection Attachment to this order.
6.          See attached continuation page for additional provisions.

7.       The foregoing terms and conditions shall be binding only during the pendency of this bankruptcy case. If, at any
time, the stay is terminated with respect to the Property by court order or by operation of law, the foregoing terms and
conditions shall cease to be binding and Secured Creditor/Lessor may proceed to enforce its remedies under applicable
non-bankruptcy law against the Property and/or against the Debtor.

8.         If Secured Creditor/Lessor obtains relief from stay based on Debtor’s defaults hereunder, the order granting that
           relief shall contain a waiver of the 14-day stay created by FRBP 4001(a)(3).

9.         Secured Creditor/Lessor may accept any and all payments made pursuant to this order without prejudice to or
           waiver of any rights or remedies to which it would otherwise have been entitled under applicable non-bankruptcy
           law.

///

///




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                           Page 2                                 F 4001-1.IMPOSE.STAY.ORDER
        Case 8:19-bk-11550-TA                   Doc 25 Filed 05/31/19 Entered 05/31/19 13:20:33                                     Desc
                                                  Main Document Page 3 of 3

10.     Other (specify):
        The stay will remain in effect indefinitely as requested in the Motion. However, a status
        conference will be held on June 25, 2019, at 10:30 am in Courtroom 5B, at which time the court
        will determine whether the continuation of the stay should be maintained or revoked.


        ###




                Date: May 31, 2019




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                        Page 3                                 F 4001-1.IMPOSE.STAY.ORDER
